                          United States District Court
                        Western District of North Carolina
                               Asheville Division

 ALAN PETER DARCY,                    )              JUDGMENT IN CASE
                                      )
              Petitioner,             )                1:19-cv-00348-MR
                                      )             1:17-cr-00036-MR-WCM
                 vs.                  )
                                      )
 UNITED STATES OF AMERICA,            )
                                      )
             Respondent.              )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s January 11, 2021 Memorandum of Decision and Order.

                                               January 11, 2021




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